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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA


 Charles W. Pollock, Jr.,                          Case No. 20‐CV‐643 (NEB/TNL)

                      Petitioner,

 v.                                             ORDER ACCEPTING REPORT AND
                                                    RECOMMENDATION
 Warden S. Kallis,
 FMC Rochester,

                      Respondent.



       The Court has received the August 7, 2020, Report and Recommendation of United

States Magistrate Judge Tony N. Leung. (ECF No. 28.) No party has objected to that

Report and Recommendation, and the Court therefore reviews it for clear error. See Fed.

R. Civ. P. 72(b); Grinder v. Gammon, 73 F.3d 793, 795 (8th Cir. 1996) (per curiam). Finding

no clear error, and based upon all the files, records, and proceedings in the above‐

captioned matter, IT IS HEREBY ORDERED THAT:

          1. The Report and Recommendation (ECF No. 28) is ACCEPTED; and

          2. Plaintiff’s Motion for Default Judgment (ECF No. 19) is DENIED.




Dated: October 16, 2020                          BY THE COURT:

                                                 s/Nancy E. Brasel
                                                 Nancy E. Brasel
                                                 United States District Judge
